EXHIBIT R
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 3
                  SUPERIOR COURT OF WASHINGTON FOR KING COUNTY
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 5    In re
 6    BLC WATER COMPANY, LLC, INDIANA                     Case No. 24-2-20247-1
      WATER TECHNOLOGY, LLC,
 7    COLEWSTECH, LLC, RCWSTECH 1157,                     DECLARATION OF SERVICE OF
      LLC, ROYAL RESERVOIRS, LLC,                         BETTINA STEFANAK:
 8    CHAURISHI RETAIL ENTERPRISES, LLC,
      KDAWG CRYPTO, LLC, PACIFIC WATER
 9    TECHNOLOGY, LLC, KWANSOO LEE,
      DDS, PLLC, KWANSOO LEE, BRAIN CHU,
10    BRIAN CHU DDS, INC., LARINA CHU,
      LAURINA CHU DDS, INC., BRIAN AND
11    LAURINA CHU DDS, INC., DAVID
      SCHROEDER, SARAH SCHROEDER, RON
12    DEREN FLESHER, TYLER SADEK, AND
      FOUNDERS MOSAIC PARTNERS, LLC,
13

14                         Plaintiffs,
15    v.
16    FIRST FED BANK, FIRST NORTHWEST
      BANCORP, NORMAN TONINA, CRAIG
17    CURTIS, JENNIFER ZACCARDO, CINDY
      FINNIE, DANA BEHAR, MATTHEW
18    DEINES, SHERILYN ANDERSON,
      GABRIEL GALANDA, LYNN
19    TERWOERDS, JOHN DOES 1-10
20                         Defendants.
21

22         I, Bettina Stefanak, under penalty of perjury under the laws of the State of
23   Washington, and based upon personal knowledge, hereby declare and state as follows:

24         I am over the age of 18 and am otherwise competent to testify herein. I am a Licensed
     Washington State Private Investigator, License No. 4283.
25
      DECLARATION OF BETTINA STEFANAK RE:                          CORR CRONIN LLP
      PERSONAL SERVICE TO SHERILYN ANDERSON.                       1015 2nd Ave Floor 10
      - Page 1 of 1                                            SEATTLE, WASHINGTON 98104
 1
            On September 8, 2024, at 12:32 p.m., at the request of Corr Cronin LLP. I served one
 2
     copy each of (1) CASE INFORMATION COVER SHEET; (2) SUMMONS; and (3)
 3   COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF TO SHERILYN ANDERSON.

 4         I served Sherilyn Anderson all copies by personal service to her at her home located at
     10920 NE 60th Street, Kirkland, WA 98033.
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 6          EXECUTED this 8th day of September, 2024, at Kirkland, Washington.
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 8                                               By:
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      DECLARATION OF BETTINA STEFANAK RE:                           CORR CRONIN LLP
      PERSONAL SERVICE TO SHERILYN ANDERSON.                        1015 2nd Ave Floor 10
      - Page 2 of 1                                             SEATTLE, WASHINGTON 98104
